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                        UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT

___________________________________
                                             )
BLACK VETERANS PROJECT and                   )
NATIONAL VETERANS COUNCIL                    )      Civ. No. 3:21-cv-00935(VLB)
FOR LEGAL REDRESS,                           )
                                             )
                   Plaintiffs,               )
                                             )
UNITED STATES DEPARTMENT OF                  )
VETERANS AFFAIRS,                            )
                                             )
                Defendant.                   )      JUNE 13, 2022
___________________________________          )

                                 JOINT STATUS REPORT

      The parties respectfully submit this Joint Status Report pursuant to this

Court’s Order dated May 23, 2022 (ECF. No. 51).

      The parties agree that there are no issues presented by the pending motion

for summary judgment (ECF No. 28) for the Court to rule on and the motion may be

denied as moot.

      The Plaintiffs agree that no further action is required regarding the merits of

the FOIA claims at issue, including the matters not addressed in or withdrawn from

the motion for summary judgment. See, e.g., ECF No 36.

      Accordingly, the Plaintiffs agree that the merits of the Complaint are moot.

      The parties agree that judgment may enter for Defendant, without prejudice

to Plaintiffs to move for attorneys’ fees and litigation costs after the entry of

judgment. See, e.g., Ctr. for Popular Democracy v. Bd. of Governors of Fed. Rsrv.

Sys., No. 16CV5829NGGVMS, 2021 WL 4452202, at *3 (E.D.N.Y. Sept. 29, 2021).
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      A proposed form of Judgment is attached, providing for this Court’s

reservation of continued jurisdiction over any petition or motion by Plaintiffs

seeking fees and costs under the applicable federal rules and statutes, including

attorney’s fees pursuant to the federal Freedom of Information Act.



Dated: June 13, 2022

                                     Respectfully submitted,

                                     /s/ Michael J. Wishnie
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